979 F.2d 847
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jerome Julius BROWN, Plaintiff-Appellant,v.George BUSH, President, Defendant-Appellee.
    No. 92-2022.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 26, 1992Decided:  November 18, 1992
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.
      Jerome Julius Brown, Appellant Pro Se.
      E.D.Va.
      AFFIRMED.
      Before ERVIN, Chief Judge, and RUSSELL and WIDENER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Jerome Julius Brown appeals from the district court's order dismissing his civil complaint as frivolous pursuant to 28 U.S.C. § 1915(d) (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Brown v. Bush, No. CA92-491-N (E.D. Va.  July 14, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    